Case 2:18-cv-03632-JXN-LDW Document 221 Filed 08/12/21 Page 1 of 4 PageID: 5337

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    VIA ECF                                                                                           July 29, 2021

    The Honorable Julien Xavier Neals, U.S.D.J.
    United States District Court
    Martin Luther King, Jr. Federal Building
    50 Walnut Street
    Newark, New Jersey 07102

                    Re:       Corcept Therapeutics, Inc. v. Teva Pharm. USA, Inc.,
                              Civil Action No. 18-3632 (JXN)(LDW) (consolidated)

  Dear Judge Neals:

          This firm, together with Quinn Emanuel, represents Plaintiff Corcept Therapeutics, Inc.
  (“Corcept”) in the above-captioned matter. Pursuant to L. Civ. R. 7.1(d)(6), Corcept respectfully
  requests leave to submit the following brief sur-reply to address certain misstatements and new
  arguments set forth in the lengthy “reply” brief submitted by Defendant Teva Pharmaceuticals
  USA, Inc. (“Teva”) “in support of its cross-motion for summary judgment of non-infringement
  of the ’214 patent.” ECF No. 211.

           Although Teva claims that it filed its reply to “(i) correct certain misstatements of law
  and fact in Corcept’s opposition to Teva’s cross-motion and (ii) respond to certain new
  arguments raised by Corcept,” there are no “misstatements” of law or fact in Corcept’s
  opposition. And Teva does not actually identify a single new argument raised by Corcept for the
  first time in opposition to the cross motion, either. Instead, Teva’s reply largely retreads old
  ground, dedicating page upon page to interpretation of cases already discussed at length in the
  parties’ briefing. Teva itself, however, includes certain misstatements and new arguments in its
  reply, which if left unchallenged, could leave the Court with an inaccurate and misleading
  record.

  I.     Teva mischaracterizes its label

           Teva repeatedly mischaracterizes the contents of its label in its reply. For instance, Teva
  argues that its “label does not instruct that co-administration of mifepristone and strong CYP3A
  inhibitors is ever ‘necessary’ or ‘required.’” Despite putting quotation marks around the words
  “necessary” and “required,” Teva fails to meaningfully address that these exact words appear in
  its label. See, e.g., ECF No. 198 at § IV(A). Teva further argues that its label “is silent on
  whether co-administration should even be considered (much less actually undertaken),” despite
  the repeated references to co-administration in the label. See Id.




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Case 2:18-cv-03632-JXN-LDW Document 221 Filed 08/12/21 Page 2 of 4 PageID: 5338

 Hon. Julien Xavier Neals, U.S.D.J.
 July 29, 2021
 Page 2

          Without getting into each instance of Teva mischaracterizing its label, the parties’ dispute
 boils down to the following question: Does Teva’s label as a whole, including the instructions
 and clinical data set forth therein, allow this Court to determine, as a matter of law, that Teva’s
 package insert will instruct or encourage physicians to practice the claimed methods of
 treatment? Corcept has presented indisputable facts indicating that this question must be
 answered in the affirmative. Specifically, Teva cannot plausibly dispute that: (1) the label
 instructs healthcare providers to co-administer mifepristone and strong CYP3A inhibitors “when
 necessary” to do so; (2) the label contains only one set of dosage adjustments for physicians to
 follow when co-administering mifepristone and strong CYP3A inhibitors; and (3) those dosage
 adjustments are directly covered by the asserted claims of the ’214 patent. These undisputed
 facts alone would be dispositive of the infringement issue. But Teva’s label goes even further, as
 it also expressly instructs that the claimed dosage adjustments are “required” when co-
 administering mifepristone with strong CYP3A inhibitors, and provides the results of clinical
 studies undertaken by Corcept (that formed the basis of the asserted ’214 patent) demonstrating
 that the claimed dosage adjustments are safe. As the authority cited in Corcept’s briefing makes
 clear, this is not a close case; the Court can and should find intent to encourage infringement as a
 matter of law on these indisputable facts. See, e.g., ECF No. 198 at §§ IV(A)-(B).

 II.    Teva mischaracterizes the case law

          Corcept explained at length why Teva’s reliance on HZNP is inapplicable to the facts
 here. See ECF No. 198 at § IV(C); ECF No. 209 at § II(A)(1). In response, Teva misstates
 HZNP in its reply, claiming that the Federal Circuit “rejected an identical argument to the one
 Corcept advances here.” Specifically, Teva argues Corcept’s infringement claims are foreclosed
 because the patentee in HZNP argued that the claimed methods in that case were “medically
 necessary.” But Teva overlooks that in HZNP, this was attorney argument devoid of support in
 the label itself; nothing in the HZNP label instructed that it would ever be medically necessary to
 apply any second substance to the patient’s skin, let alone the claimed second substances. See
 940 F.3d at 701 (explaining that HZNP’s medical necessity argument was based upon a warning
 in the label that never used the words “necessary” or “required.”). 1 Teva’s label is materially
 different. See, e.g., ECF No. 198 at § IV(A); ECF No. 209 at 15.

          Corcept also explained that accused infringers such as Teva cannot escape inducement
 liability by characterizing their proposed labels as providing “if/then” instructions, citing by way
 of example Vanda Pharmaceuticals Inc. v. West-Ward Pharmaceuticals International Ltd., 887
 F.3d 1117 (Fed. Cir. 2018). See, e.g., ECF No. 209 at 16-17. Teva’s only response to Vanda is

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       Instead, HZNP’s attorneys argued that the following warning about “Sun Exposure”
       indicated the claimed methods may be “necessary”: “Instruct patients to avoid exposure to
       natural or artificial sunlight on treated knee(s) because studies in animals indicated topical
       diclofenac treatment resulted in an earlier onset of ultraviolet light-induced skin tumors. The
       potential effects of diclofenac sodium topical solution on skin response to ultraviolet damage
       in humans are not known.” 940 F.3d at 701 n.11.
Case 2:18-cv-03632-JXN-LDW Document 221 Filed 08/12/21 Page 3 of 4 PageID: 5339
Case 2:18-cv-03632-JXN-LDW Document 221 Filed 08/12/21 Page 4 of 4 PageID: 5340

 Hon. Julien Xavier Neals, U.S.D.J.
 July 29, 2021
 Page 4

 need not be considered. See, e.g., Jazz Pharms., Inc. v. Roxane Labs., Inc., No. 10-06108, 2012
 WL 3133943, at *3 (D.N.J. July 30, 2012) (explaining that because “the Local Patent Rules
 emphasize ‘ultra early disclosure of infringement and invalidity contentions for patent cases
 arising under the Hatch-Waxman Act,’” a litigant is not permitted to inject new arguments into
 the case absent a showing of good cause).

          Nonetheless, Teva’s arguments are easily dealt with. First, Teva’s label sufficiently
 induces infringement even without the need to rely on the clinical data contained in Table 3. See
 ECF No. 198 at §§ IV(B). Thus, even if credited, Teva’s new arguments do not provide a basis
 to deny Corcept’s summary judgment motion. Second, Teva’s arguments should not be credited
 because they rely on attorney argument that is inconsistent with the only evidence in the record.
 See, e.g., Sec. & Data Techs., Inc. v. Sch. Dist. of Philadelphia, 145 F. Supp. 3d 454, 470 (E.D.
 Pa. 2015) (rejecting argument where defendant’s “characterization of the summary judgment
 record is not accurate and ignores evidence.”). Specifically, the parties do not dispute that the
 FDA only approved the addition of the pertinent data to the label after the clinical studies
 underlying the claimed methods were completed. See ECF No. 199 at ¶ 31. Teva’s expert did
 not even consider Table 3 in forming his opinions in this case (see, e.g., ECF No. 209 at 27-28),
 let alone express any opinion regarding the data therein, whereas Corcept’s expert will testify at
 trial that the clinical data in the clinical pharmacology section of Teva’s package insert,
 including Table 3, “indicate it is safe to co-administer 600 milligrams mifepristone in
 combination with a strong CYP3A inhibitor like ketoconazole,” which will in turn encourage
 physicians to co-administer in the first place. ECF No. 209 at 28 n.6 (quoting Exhibit 3 at
 125:16-126:16). Accordingly, although the Court need not rely on these data to determine that
 the instructions in Teva’s label will encourage an infringing use, to the extent that the Court does
 consider the data, they only provide additional, uncontroverted evidence of Teva’s intent to
 induce infringement.

         Accordingly, none of the arguments raised in Teva’s reply warrant denial of Corcept’s
 motion for summary judgment. At a minimum, Teva’s 11th-hour injection of these arguments
 warrants denial of Teva’s cross motion—which is dependent upon the position that nothing in
 the label encourages co-administration, not even the clinical data in Table 3—since Teva has
 now attempted to raise a factual dispute over whether that data would (1) indicate the claimed
 methods are safe and (2) encourage a physician to practice the methods in the first place. See,
 e.g., Farmers & Merchants Nat. Bank v. San Clemente Fin. Grp. Sec., Inc., 174 F.R.D. 572, 577-
 78 (D.N.J. 1997).

        Thank you for Your Honor’s kind attention to this matter.

                                                        Respectfully yours,



                                                        William C. Baton

  cc:    Hon. Leda D. Wettre, U.S.M.J. (via ECF)
         All counsel of record (via e-mail)
